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UNI'I'ED STA'I'ES DIS'I'RICT COURT
SOUTEERN DISTRICT OF OHIO
EASTERN DIVISION

CIVIL ACTION NO. C2 05 784

J`U'DGE: HON. MICHAEL I'I WATSON

Defendant.
MAGISTRATE

JUDGE: HON. ELIZABETH PRESTON
DEAVERS

MAX RACI§, INC. )
393 South 3 Su'eet )
Columbus, Ohio 43215 )
_ _ ) s'I'IPULATION AND 0RI)ER FoR
Plamuff, ) DISMISSAL oF ALL CLAiMs AND
v § COUNTERCLAIMS;
HOIST FITNESS sYsTEMs, [NC. § lF~R-C-P-, RULE 41(a)(1)(ii)l
9990 Empire Street )
Suite 130 )
san Diego, CA 92126 )
)
)
)
)

 

Plaintiffs Ma.'x Rack, Inc., by and its counsel, Jeffrey S. Standley and Michael Stonebrook
and Defendant Hoist Fitness Systems, Inc. by and through its counsel John Ha]ler and Jonathon
Saxton (Plainst and Defendants herein referred tc as Stipulating Pa.rties) stipulated, pursuant to
FRCP, Rule 41(a)(l )(ii) to dismiss with prejudice all claims and counterclaims in the above-
eaptioned action.

The Stipulating Partiee advise the Court that the Parties have entered into a Mutual
Settlement and Release of Claims Agreement, which is incorporated by this reference
(“Settlement Agreement”), which agreement resolves all claims and counterclaims between
those parties

The Stipulating Parties further stipulate that by incorporating by this reference the terms
of the Settlement Agreement among the Stipulating Parties, the obligations of the parties to

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comply with the respective terms of the Settlement Agreerneut is, per above, made a part of the

dismissal order. (Hagestad v. Tragesser v. Oregon Stare Bar, 49 F.3d 1430 (9"' Cir. 1995); see

also Kokkonen v. Guardr'an Life In_s'urance Company of Amerr'ca, 511 U.S. 375, 114 S.Ct. 1673 ;

128 L. ad 2d 391 (1994).)

The Stipulating Parties respectfully request that the Court retain continuing jurisdiction

for a period of eighteen (18) months alter entry of dismissal, for purposes of interpretation and

enforcement of the Settlernent Agreement, which Settlement Agreement is incorporated herein

by this reference

/ //
IT IS SO STIPULATED.

Dated chis § day of July, 2011

Dared this¢%day of July, 2011

 

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ORDER OF DISMISSAL

'l`he foregoing stipulation of the parties for dismissal of the entire action including all
claims and colmterclaims, having been received by the Court and duly considered,

AND GOOD CAUSE APPEARING 'I`HEREFOR,

I'l` IS HEREBY ORDERED that the entire action is dismissed with prejudice including
all claims and colmterclaims;

IT IS FURTHER ORDERED that, at the request of the parties, the Court Wi]l retain
continuing jurisdiction for a period of eighteen (18) months from the date of enh'y of dismissal
for purposes of interpretation and enforcement cf the Settlemcnt Agreement.

IT IS SO ORDERED.

a ’@2”/“ MMW%M

UNrrlZD s‘rATEs DISTRICT coURT JUDGE

